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(describing Transunion as “a battering ram” “[w]hen it comes to the constitutional
separations-of powers-framework”).

      Accordingly, the Court DIRECTS supplemental briefing on the following
questions:

      • As discussed in TransUnion, how does Plaintiffs’ instant action fit within the
        “types of cases” that “history and tradition” show “Article III empowers
        federal courts to consider”? See TransUnion, 141 S. Ct. at 2204 (citing
        Sprint Communications Co. v. APCC Services, Inc., 554 U.S. 269, 274
        (2008)). 3

      • What is the constitutional viability of organizational standing following the
        Supreme Court’s decision in TransUnion? Compare Havens Realty Corp. v.
        Coleman, 455 U.S. 363, 379 (1982) (describing a defendant impairing the
        plaintiff-organization’s “ability to provide counseling and referral services
        for low-and moderate-income homeseekers” as a “concrete and
        demonstrable injury to the organization’s activities”), with TransUnion, 141
        S. Ct. at 2203 (“Requiring a plaintiff to demonstrate a concrete and
        particularized injury caused by the defendant and redressable by the court
        ensures that federal courts decide only ‘the rights of individuals’ . . . .”)
        (citing Marbury v. Madison, 1 Cranch 137, 170, 5 U.S. 137 (1803)).

          For the foregoing reasons, the Court hereby ORDERS as follows:

       1.    The parties are DIRECTED to file simultaneous supplemental briefs,
not to exceed 25 pages, 4 no later than March 27, 2023, providing an analysis of the
questions set forth above.




3
        For further discussion concerning the “historical inquiry” used in other constitutional
law contexts, see New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111, 2130 n.6
(2022) (“‘In our adversarial system of adjudication, we follow the principle of party
presentation.’ United States v. Sineneng-Smith, 140 S. Ct. 1575 (2020). Courts are thus entitled
to decide a case based on the historical record compiled by the parties.”).
4
          The 25-page limit is indeed a limit, not a suggested length.
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       2.    The hearing on the Motion is CONTINUED to April 7, 2023, at
9:00 a.m. in Courtroom 9D of the Ronald Reagan Federal Building and U.S.
Courthouse, 411 W. 4th Street, Santa Ana, California.

       IT IS SO ORDERED.




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